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 6                                  UNITED STATES DISTRICT COURT
 7
                                            DISTRICT OF NEVADA
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 9   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC., a Delaware
10   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,
11                                                                  Case No. 2:10-cv-0106-LRH-PAL

12   Plaintiffs,
                                                              ORDER GRANTING RIMINI’S
     v.                                                       MOTION FOR CLARIFICATION OF
13                                                            AUGUST 13, 2014 ORDER (DKT. 476)
14   RIMINI STREET, INC. , a Nevada corporation;
     SETH RAVIN, an individual,
15
     Defendants.
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18           Having considered the Motion by Defendant Rimini Street, Inc. for Clarification of the

19   August 13, 2014 Order (Dkt. 476) Regarding Rimini’s First Counterclaim (Defamation), and for

20   good cause appearing, it is hereby ordered granting Rimini’s Motion. The Court clarifies its August

21   13, 2014 Order (Dkt. 476) by making clear that:

22           (1) The Court did not hold or find that Rimini committed any act of intentional theft; and

23           (2) The Court did not hold or find that Rimini engaged in any act of willful infringement.

24           Any determination of intent will be left for the jury at trial.

25           IT IS SO ORDERED.

26   DATED this __ day of __________, 2014.
                                                                                     ______
27                                                    Larry R. Hicks
                                                      United States District Judge
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